

Matter of Felicia F. v Tetina A. C. (Tyeem T.K.) (2021 NY Slip Op 05396)





Matter of Felicia F. v Tetina A. C. (Tyeem T.K.)


2021 NY Slip Op 05396


Decided on October 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 07, 2021

Before: Manzanet-Daniels, J.P., Mazzarelli, Moulton, González, Pitt, JJ. 


Docket No. V-01512/19 Appeal No. 14314 Case No. 2020-04278 

[*1]In the Matter of Felicia F., Petitioner-Respondent,
vTetina A. C., Respondent-Appellant, Tyeem T. K., Respondent.


Carol L. Kahn, New York, for appellant.
Kenneth M. Tuccillo, Hastings on Hudson, for respondent.
Karen Freedman, Lawyers for Children, Inc., New York (Shirim Nothenberg of counsel), attorney for the child.



Order, Family Court, New York County (Stephanie Schwartz, Referee), entered on or about October 5, 2020, which granted petitioner godmother sole custody of the subject child with no provision for visitation by respondent mother, unanimously affirmed, without costs.
The mother argues that, even assuming petitioner showed the requisite extraordinary circumstances, i.e., a finding of unfitness, for granting custody to a non-parent (see Matter of Bennett v Jeffreys, 40 NY2d 543 [1976]), it was still in the child's best interests to have supervised visitation with her, the mother. We find that the court's omission of a provision for such visitation was appropriate. The record shows that she, in effect, forfeited her visitation rights through her actions (see generally Matter of Granger v Misercola, 21 NY3d 86, 90-91 [2013]).
The mother's remaining arguments, i.e., about her right to counsel and petitioner's medical conditions, are unsupported by the record.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 7, 2021








